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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

   SECURITY NATIONAL INS. CO.,
   a foreign corporation,

                Plaintiff,
   vs.
                                                   CASE NO.:
   DANNY ORTIZ MORALES, an
   individual, and RONALD M. SHAVE,
   an individual.

                Defendants.


                    COMPLAINT FOR DECLARATORY RELIEF

         Plaintiff, SECURITY NATIONAL INSURANCE COMPANY, (“SNIC”)

  through its undersigned counsel, sues Defendants, DANNY ORTIZ MORALES,

  an individual, and RONALD M. SHAVE, an individual, for declaratory relief and

  alleges as follows:

                                  Nature of Suit

         1.    This is an action for declaratory relief to declare the rights and

  obligations of parties under a policy of liability insurance.   SNIC seeks a

  declaration that no coverage is afforded under its commercial general liability

  insurance policy for any damages which have been alleged by Defendant,

  DANNY ORTIZ MORALES (“MORALES”), against Defendant, RONALD M.
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  SHAVE (“SHAVE”), in the underlying Morales action and that SNIC has no duty

  to defend or indemnify SHAVE in that action.

        2.    MORALES was injured in the course and scope of his employment

  while working as a leased employee for SNIC’s insured, SHAVE STEEL LLC

  (“SHAVE LLC”).

        3.    SHAVE, as a member or manager of SHAVE LLC, qualifies as an

  insured under SNIC’s policy. MORALES, as a leased employee of SHAVE LLC,

  also qualifies as an insured under SNIC’s policy.

        4.    The Policy excludes coverage for any injury suffered by an employee

  of an insured. The Policy also excludes coverage for claims or suits by one insured

  against another insured. In addition, no coverage is afforded for injuries suffered

  by a co-employee. Because the claims which have been alleged in the Morales

  action are plainly not covered under the subject Policy, SNIC has no duty to defend

  or indemnify SHAVE in that action.

        5.    This declaratory judgment is sought to resolve an actual controversy

  between the parties regarding insurance coverage which is afforded under SNIC’s

  policy.



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                                Jurisdiction and Venue

          6.    This is an action for declaratory relief pursuant to 28 U.S.C. Section

  2201.

          7.    Venue is proper in the Southern District of Florida pursuant to 28

  U.S.C. Sections 1391(a) and 1391(c), because the underlying lawsuit against the

  Insureds is pending in this district.

          8.    The underlying lawsuit is a suit for damages resulting from injuries

  suffered by Defendant, MORALES, when the forklift driven by SHAVE made

  contact with a power line and caused an electrical shock to MORALES.

          9.    At the time of the incident, MORALES was working as a leased

  employee for Defendant, SHAVE LLC. The policy of insurance which is the

  subject of this lawsuit affords coverage subject to a limit of $1,000,000. The amount

  in controversy is in excess of this Court’s minimum jurisdictional amount of

  $75,000, exclusive of interest, costs and attorneys’ fees

          10.   All conditions precedent to the filing of this action have occurred or

  have been complied with.

                                          Parties

          11.   Plaintiff, SECURITY NATIONAL INSURANCE COMPANY, is a

  Delaware corporation with its principal place of business in New York, New York.
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        12.    At all times material to this action, Defendant, DANNY ORTIZ

  MORALES, was a resident of Florida and sui juris.

        13.    At all times material to this action, Defendant, RONALD M. SHAVE

  was a resident of Florida and sui juris.

        14.    MORALES is being named in this coverage action solely as an

  interested party. SNIC seeks no affirmative relief from MORALES other than to

  bind him to any judgment which may be entered in this coverage action.

                             Underlying Morales Action

        15.    At all relevant times, MORALES was a leased employee of SHAVE,

  LLC and performing duties related to his employment with SHAVE, LLC.

        16.    At all relevant times, SHAVE was a member of SHAVE, LLC acting

  within the course and scope of his duties as such and/or was an employee of

  SHAVE, LLC performing duties related to his employment with SHAVE, LLC.

        17.    On May 16, 2023, SHAVE was operating a forklift while MORALES

  was acting as spotter. While SHAVE was operating the forklift, it made contact

  with energized high voltage power lines, which caused an electric shock to

  MORALES causing MORALES to sustain injuries.

        18.    On or about August 16, 2023, MORALES filed a Petition for Workers’

  Compensation Benefits relating to his injuries sustained while working as a leased



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  employee for SHAVE LLC. A copy of the Petition is attached hereto as Exhibit

  “A.”

         19.   On October 12, 2023 MORALES filed a lawsuit styled Danny Ortiz

  Morales v. Ronald M. Shave et al, Case # 50-2023-CA-014661, which is presently

  pending in the Circuit Court in and for Palm Beach County, Florida (“Morales

  action”). A copy of the Complaint from the Morales action is attached hereto as

  Exhibit “B” and is incorporated herein.

         20.   The Complaint in the Morales action names SHAVE as a defendant

  and seeks damages arising out of MORALES’s injuries.

         21.   The Complaint asserts one claim for Gross Negligence against

  SHAVE (Count II).

         22.   SNIC has agreed to provide SHAVE with a defense with respect to all

  claims asserted against him in the Morales action subject to a complete reservation

  of rights.

                                    SNIC’s Policy

         23.   SNIC issued a Commercial General Liability policy number

  SES1814229 00 to Shave Steel LLC as the named insured, which was in effect from

  May 2, 2023 to May 2, 2024 (“Policy”). A true and correct copy of the Policy is

  attached hereto as Exhibit “C.”



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        24.    The subject Policy affords coverage for “bodily injury” caused by an

  “occurrence” and promises to defend the insured with regards to covered claims,

  in relevant part, as follows:


               SECTION I – COVERAGES

               COVERAGE A BODILY INJURY AND PROPERTY
               DAMAGE LIABILITY

               1.     Insuring Agreement

               1. We will pay those sums that the insured becomes legally
                  obligated to pay as damages because of “bodily injury” or
                  “property damage” to which this insurance applies. We will
                  have the right and the duty to defend the insured against
                  any “suit” seeking those damages. However, we will have
                  no duty to defend the insured against any “suit” seeking
                  damages for “bodily injury” or “property damage” to which
                  this insurance does not apply…

        25.    The Policy contains various exclusions, including the following

  exclusion, which has been added by endorsement:

               EXCLUSION – INJURY TO EMPLOYEES, CONTRACTOR,
               EMPLOYEES OF A CONTRACTOR

               The following Exclusion is added to SECTION I –
               COVERAGES, paragraph 2. Exclusions of COVERAGE A –
               BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
               and paragraph 2. Exclusions of COVERAGE B – PERSONAL
               AND ADVERTISING INJURY LIABILITY:

               2.     Exclusions

               This insurance does not apply to:

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                 INJURY TO EMPLOYEES, CONTRACTOR, EMPLOYEES
                 OF A CONTRACT [sic]

              (1) “Bodily injury” to any employee of an insured, to any
                  contractor hired or retained by or for any insured or to any
                  employee of such contractor, if such claim for bodily injury
                  arises out of and in the course of his/her employment or
                  retention of such contractor by or for any insured, for which
                  any insured may become liable in any capacity;

              (2) Any obligation of any insured to indemnify or contribute with
                  another because of damage arising out of the “bodily injury”;
                  or

              (3) “Bodily injury” sustained by the spouse, child parent, brother
                  or sister of an employee of any insured, or of a contractor, or of
                  an employee of a contractor of any insured as a consequence of
                  “bodily injury” to such employee, contractor, or employee of
                  such contractor, arising out of and in the course of such
                  employment or retention by or for an insured.

              This exclusion applies to all claims and “suits” by any person or
              organization for damages because of such “bodily injury”, including
              damages for care and loss of services.

        26.      The Policy also contains another exclusion which has been added by

  endorsement, which provides as follows:

                 EXCLUSION – CROSS SUITS (INSUREDS)

                 The following Exclusion is added to SECTION I –
                 COVERAGES, paragraph 2. Exclusions of COVERAGE A –
                 BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
                 and paragraph 2. Exclusions of COVERAGE B – PERSONAL
                 AND ADVERTISING INJURY LIABILITY:

                 2.    Exclusions
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                This insurance does not apply to:

                Suits between Insureds:

                Any obligation to defend any “suit” or claim against the
                “insured” alleging “bodily injury”, “property damage”, or
                “personal and advertising injury” resulting from, relating to,
                alleged by or bought between one Insured against another
                Insured under this policy.

        27.     Section II of the Policy – Who Is An Insured, provides in relevant part

  as follows:

                SECTION II – WHO IS AN INSURED

                1.    If you are designated in the Declarations as:

                      ***
                      c.    A limited liability company, you are an insured.
                            Your members are also insured, but only with
                            respect to the conduct of your business. Your
                            managers are insureds, but only with respect to
                            their duties as your manager.

                2.    Each of the following is also an insured:

                a.    Your “volunteer workers” only while performing duties
                      related to the conduct of your business, or your
                      “employees”, other than either your “executive officers”
                      (if you are an organization other than a partnership, joint
                      venture or limited liability company) or your managers
                      (if you are a limited liability company), but only for acts
                      within the scope of their employment by you or while
                      performing duties related to the conduct of your
                      business. However, none of these “employees” or
                      “volunteer workers” are insureds for:

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                        (1) “Bodily injury” or “personal advertising injury”:

                        (a) To you, to your partners or members (if you are a
                            partnership or joint venture), to your members (if
                            you are a limited liability company), to a co-
                            “employee” while in the course of his or her
                            employment or performing duties related to the
                            conduct of your business, or to your other
                            “volunteer workers” while performing duties
                            related to the conduct of your business;

                        (b) To the spouse, child, parent, brother or sister of
                            that co-“employee” or “volunteer worker” as a
                            consequence of paragraph (1)(a) above;

                        (c) For which there is any obligation to share damages with
                            or repay someone else who must pay damages because
                            of the injury described in Paragraph (1)(a) or (b) above…
          28.   The Policy includes the following relevant definitions:

                SECTION V – DEFINITIONS

                5. “Employee”1 includes a “leased worker”, “temporary
                   worker” or “volunteer worker.”

                10. “Leased worker” means a person leased to you by a labor
                    leasing firm under an agreement between you and the labor
                    leasing firm, to perform duties related to the conduct of
                    your business. “Leased worker” does not include a
                    “temporary worker”.

            COUNT I – DECLARATORY JUDGMENT AS TO DUTY TO
          DEFEND AND INDEMNIFY SHAVE IN THE MORALES ACTION




  1
      As amended by Endorsement titled TEMPORARY & VOLUNTEER WORKER EXCLUSION.
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         29.    SNIC incorporates and restates the allegations stated in paragraphs 1-

   28 as though the same were fully set forth herein.

         30.    At all relevant times, MORALES was an “employee” of SHAVE LLC

   as defined in the Policy.

         31.    As an “employee” of SHAVE LLC, MORALES qualifies as an insured

   under the Policy.

         32.    At all relevant times, SHAVE was a member or manager and/or

   “employee” of SHAVE LLC.

         33.    As a member or manager and/or employee of SHAVE LLC, SHAVE

   qualifies as an insured under the Policy.

         34.    In the Morales action, MORALES seeks damages against SHAVE

   arising from injuries sustained in the course and scope of his employment for

   SHAVE LLC, also an insured.

         35.    SNIC seeks a declaration of its rights and obligations with respect to

   the underlying claims for damage which have been asserted against SHAVE in the

   Morales action.

         36.    It is the position of SNIC that no coverage is afforded for any claims

   which have been alleged in the Morales action against SHAVE because coverage

   for such claims is expressly excluded under one or more Policy exclusions.



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         37.    It is further the position of SNIC that no coverage is afforded for any

   claims which have been alleged in the Morales action against SHAVE because

   SHAVE does not qualify as an insured under the terms of the Policy with respect

   to injuries suffered by a co-employee.

         38.    Accordingly, it is the position of SNIC that it has no duty to defend or

   indemnify SHAVE in the Morales action.

         39.    SNIC is in doubt as to its rights, duties and obligations with regard to

   the subject Policy of insurance.

         40.    An actual, present and justiciable controversy exists between SNIC

   and its insured, SHAVE, warranting the entry of declaratory judgment by this

   Court.

         41.    Defendant, MORALES has been named in this action only insofar as

   he may have an interest in the outcome of this coverage dispute.

         WHEREFORE,         Plaintiff,   SECURITY       NATIONAL         INSURANCE

   COMPANY, requests that this Court enter judgment in its favor and against

   Defendants declaring that:

                A.    The subject SNIC Policy does not afford coverage for RONALD
                      M. SHAVE for any damages claimed against him in the
                      underlying Morales action;




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               B.    SNIC has no duty to defend or indemnify RONALD M. SHAVE
                     with respect to any claims alleged against him in the
                     underlying Morales action.
         Plaintiff further requests that the Court grant such other relief which the

   Court deems appropriate and just.

   Dated: 4/12/24

                                        HINSHAW & CULBERTSON, LLP

                                        By: Gary Khutorsky
                                        Gary Khutorsky, Esq. (FBN 814271)
                                        gkhutorsky@hinshawlaw.com
                                        Stephanie H. Carlton, Esq. (FBN 123763)
                                        scarlton@hinshawlaw.com
                                        201 East Las Olas Blvd., Suite 1450
                                        Ft. Lauderdale, FL 33301
                                        Tel: 954-467-7900
                                        Fax: 954-467-1024
                                        Attorneys for Plaintiff,
                                        Security National Ins. Co.




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